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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

BECK PAINT & HARDWARE, INC.,                      ]
                                                  ]
                        Plaintiff,                ]
                                                  ]
v                                                 ]    Case No.
                                                  ]    Hon.
THE  TRAVELERS                INDEMNITY           ]
COMPANY,                                          ]
                                                  ]
                        Defendant.                ]
                                                  ]
                                                  ]


            NOTICE OF REMOVAL BASED ON DIVERSITY OF CITIZENSHIP


       NOW COMES Defendant, The Travelers Indemnity Company, by and through its

attorneys, Gregory and Meyer, P.C., and pursuant to 28 USCA 1441, hereby files this Notice of

Removal of a cause of action filed in the Hamilton County Common Pleas Court of the State of

Ohio entitled, Beck Paint & Hardware, Inc. v. The Travelers Indemnity Company, Case No.

A1701848, and states:

       1.      This action was commenced against Defendant, The Travelers Indemnity

Company, in the Hamilton County Common Pleas Court on April 4, 2017, and service of process

as well as the initial pleading setting forth the claim for relief upon which the action is based,

was delivered to Corporation Service Company on April 10, 2017.

       2.      The action is a civil action for alleged breach of contract and bad faith against

Defendant and, pursuant to 28 USCA 1332(a)(1), this Court has original jurisdiction over the

matter by reason of diversity of citizenship of the parties. Plaintiff’s Complaint alleges that it is a

company resident in Ohio, whose principal place of business is at 718 E. McMillian St.,
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Cincinnati, Ohio 45206, which is the subject of this litigation; The Travelers Indemnity

Company is a Connecticut corporation with its principal place of business in the State of

Connecticut; and the amount in controversy exceeds $75,000.00, exclusive of interest and costs,

because Plaintiff requests compensatory damages in excess of $25,000 and punitive damages,

which may be awarded up to two times the compensatory damages under ORC 2315.21,

therefore, the amount in controversy exceeds $75,000.

       3.      A copy of all process, pleadings and orders served upon Defendant, as well as a

Proof of Service of written notice of this Notice of Removal to all adverse parties and a copy of

same being filed with the clerk of the State court is being filed with this notice as required by 28

USC 1446 (a) and (d).

       4.      The Travelers Indemnity Company intends on filing a motion or first responsive

pleading asserting as provided by FRCP 12(b), following removal.

                                                     s/ Kurt D. Meyer
                                                     GREGORY AND MEYER, P.C.
                                                     Attorneys for Defendant
                                                     340 E. Big Beaver Road, Suite 520
                                                     Troy, MI 48083
                                                     (248) 689-3920
                                                     kmeyer@gregorylaw.com
Dated: May 8, 2017                                   (0087580)




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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

BECK PAINT & HARDWARE, INC.,                     ]
                                                 ]
                       Plaintiff,                ]
                                                 ]
v                                                ]    Case No.
                                                 ]    Hon.
THE  TRAVELERS                INDEMNITY          ]
COMPANY,                                         ]
                                                 ]
                       Defendant.                ]
                                                 ]
                                                 ]


                                    CERTIFICATE OF SERVICE


       I hereby certify that on May 8, 2017, I electronically filed the Notice of Removal Based

on Diversity of Citizenship and this Certificate of Service with the Clerk of the Court using the

ECF system which will send notification of such filing to the following: Not applicable.

       I hereby further certify that on May 8, 2017, I electronically filed a copy of the foregoing

Notice of Removal Based on Diversity of Citizenship and this Certificate of Service with the

Clerk of the Court, Hamilton County Court of Common Pleas, using the Court's Efile system,

which will send notification to all attorneys of record.
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       I hereby further certify that on May 8, 2017, I served a copy of the foregoing Notice of

Filing Notice of Removal and this Certificate of Service by United States First Class mail and

electronic mail upon:

       Frederic X. Shadley
       Ulmer & Berne LLP
       600 Vine Street, Suite 2800
       Cincinnati, OH 45202
       fshadley@ulmer.com

       Attorney for Plaintiff

                                                  s/ Kurt D. Meyer
                                                  KURT D. MEYER (0087580)
                                                  GREGORY AND MEYER, P.C.
                                                  340 E. Big Beaver Road, Suite 520
                                                  Troy, MI 48083
                                                  (248) 689-3920/(248) 689-4560 - Fax
                                                  kmeyer@gregorylaw.com
                                                  Attorneys for Defendant




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